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                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA


 IN RE                                                          Case No. BKI5-80898


 JOSEPH ALLEN HARTLEY.                                                 Chapter 7
 RACHEL KAY HARTLEY
                                                            Honorable Thomas L. Saladino
                                      Debtors.



    TRUSTEE'S AMENDED MOTION TO AUTHORIZE INTERIM DISTRIBUTION
              INCLUDING COMPENSATION FOR TRUSTEE AND NOTICE OF
                          OBJECTION/RESISTANCE DATE


         COMES NOW Richard D. Myers, the duly elected, acting and qualified Trustee herein,
 and moves the Court for an Order authorizing him to distribute funds to creditors on an interim
 basis as follows:

         1.     Trustee is the duly appointed, qualified and acting Chapter 7 Trustee in this case.
         2.     As of the date of the dictation of this Motion, Trustee holds the sum of
 $1,482,036.49 in the bankruptcy's account but the Trustee has previously distributed funds, for
 administrative expenses and in payment of the pre-petition claims of the Internal Revenue
 Service as authorized by the compromise agreement between the estate and the debtor (See
 Filings 195 and 181) and to Fraser Stryker, PC,LEO (See Filings 158 and 164). Based upon the
 fact that the remaining asset of the estate is pending litigation in another jurisdiction, which may
 not be concluded for an extended period, and rather than delay distribution to creditors. Trustee
 proposes to distribute $1,000,000.00 as an interim distribution at the current time pursuant to the
 attached proposed distribution schedule, which is attached hereto, marked Exhibit "A", and by
 this reference made a part hereof. Trustee has reserved $648,185.14 which represents the pro-
 rata share of the $1,000,000.00 interim distribution which would otherwise be due to
 Independence Bank (not proposed to be distributed here due to pending litigation) for their
 claims filed herein as Claim Nos. 9 and 10.

         3.     Based on such distribution. Trustee seeks authority to pay himself a commission
 of $58,814.25, representing twenty-five percent of the first $5,000.00, ten percent of the next
 $45,000.00 and five percent of the next $950,000.00, and three percent of the amounts, if any, in
 excess of $1,000,000.00, which have been or are now being distributed and seeks reimbursement
 of expenses to date in the amount of $511.50.

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        The last day to object or resist this pleading is: February 19, 2018.
        Objections or resistances must be filed with the United States Bankruptcy Court before
 the last objeetion/resistanee date as set forth above. Such objection or resistance shall set forth
 the specific factual and legal basis for the objeetion/resistanee and conclude with a particular
 request for relief. If an objection/resistance is filed without the specific factual and legal basis
 included, the matter will be submitted to the Judge without hearing.
        If the objection period expires without the filing of any objection/resistance, the Court
 will consider entering an order granting relief by the undersigned sought, without further
 hearing.
        If an objection or resistance is properly and timely filed, the Court will set the matter for
 a hearing in the Courtroom or by telephone.
         WHEREFORE, Trustee prays for an Order authorizing the Trustee to make the
 distribution to creditors as set forth in the attached exhibit.

        DATED this 29"^ day of January, 2018.

                                            By: /s/ Richard D. Myers
                                                   Richard D. Myers, Trustee #13000
                                                   McGill, Gotsdiner, Workman
                                                    & Lepp, P.C., L.L.O.
                                                   11404 West Dodge Road, Suite 500
                                                   Omaha,NE 68154-2584
                                                   402-492-9200
                                                   402-492-9222(Facsimile)
                                                   RDM@mgwl.com


                                   CERTTFTCATE OE SERVICE

         The undersigned hereby certifies that on the 29'*^ day of January, 2018, I electronically
 filed the foregoing with the Clerk of the Bankruptcy Court using the CM/ECF system and I
 hereby certify that I have mailed by United States Postal Service the document to the non-
 CM/ECF participants listed on the current matrix.
                                                 /s/ Diane M. Wilson
                                                 Assistant to Richard D. Myers




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Debtor Name: Joseph Allen Hartley                                                                                                              PROPOSED DISTRIBUTION



Claim #       Payee Name                       Class             Priority       Amount              Paid To Date       Claim Balance      Proposed Pymt      Funds Remaining

Beginning Balance                                                                                                                                                  $199,579.48

             RICHARD D. MYERS                  Administrative      100             $58,814.25                $0.00          $58,814.25         $58,814.25          $140,765.23
             11404 W. Dodge Rd., Suite 500
             Omaha, NE 68154-2584

              RICHARD D. MYERS                 Administrative      100                $511.50                $0.00             $511.50           $511.50           $140,253.73
              11404 W. Dodge Rd., Suite 500
              Omaha, NE 68154-2584

adm-1         FRANKEL ZACHARIA LLC             Administrative       100             $1,653.00            $1,653.00               $0.00              $0.00          $140,253.73
              Suite 700
              11404 W. Dodge St.
              Omaha, NE 68154-2576

adm-3         FRANKEL ZACHARIA LLC             Administrative       100               $822.25              $822.25               $0.00              $0.00           $140,253.73
              Suite 700
              1I404W. Dodge St.
              Omaha, NE 68154-2576

admin 7       Abrahams Kaslow & Cassman        Administrative       100              $4,918.33                $0.00          $4,918.33          $4,918.33           $135,335.40
              LLP
              8712 West Dodge Rd., Suite 300
              Omaha, NE68II4

              Dvorak Law Group                 Administrative       100               $890.50                 $0.00            $890.50            $890.50           $134,444.90
admin4
              13625 Califomia Street, Suite
              no
              Omaha, NE 68154

                                                                                     $4,880.00            $4,880.00              SO.OO              $0.00           $134,444.90
adminS        MCGILL,GOTSDINER,                Administrative       100
              WORKMAN & LEPP,
              11404 W,Dodge
              Suite 500
              Omaha, NE 68154

                                                                    100                $101.74              $101.74              $0.00              $0.00           $134,444.90
adminb        MCGILL,GOTSDINER,                Administrative
              WORKMAN & LEPP,
              11404 W. Dodge
              Suite 500
              Omaha, NE 68154

                                                Administrative      150             $80,187.50           $80,187.50               $0.00             $0.00            $134,444.90
adm-2         Eraser Strykcr Pe Llo
              500 Energy Plaza
              409 South I7Th St
              Omaha, Ne 68102

                                                                                    $13,011.16           $13,011.16               $0.00             $0.00            $134,444.90
 adm-2a       Fraser Stryker Pc Llo             Administrative       150
              500 Energy Plaza
              409 South l7Th St
               Omaha, Nc 68102

                                                                                   $165,790.23          $100,655.65          $65,134.58         $65,134.58
 Subtotals for Class Administrative 100,00%

                                                Priority            280            $884,852.75          $884,852.75               $0.00              $0.00           $134,444.90
 7             INTERNAL REVENUE
               SERVICE
               c/o Patrick Ellsworth
               ATAT Revenue Officer
               1616 Capital Avc Suite 440
               Omaha, NE 68102

                                                                                   $884,852.75          $884,852.75               $0.00              $0.00
 Subtotals for Class Priority 100.00%

                                                Unsecured            300            $46,702.15                 $0.00         $46,702.15          $8,011.17           $126,433.73
 3             First Hawaiian Bank
               C/O Brandon R. Tomjack
               1700 Famam Street, Suite 1500
               Omaha, Ne 68102

                                                Unsecured            300           $105,533.23                 $0.00        $105,533.23         $18,102.91           $108,330.82
 4             First Hawaiian Bank
               C/O Brandon R. Tomjack
               1700 Famam Street, Suite 1500
               Omaha, Nc 68102
                                                                                      EXHIBIT
                                                                                                                                                   Date Printed 1/29/2018 12:01:17 PM
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                                                                                Proposed Distribution                                                                        Page 2 of 2


Case Number: 15-81898-TLS                                                                                                                                         Date: January 29, 2018

Debtor Name: Joseph Allen Hartley                                                                                                                      PROPOSED DISTRIBUTION



Claim #        Payee Name                        Class               Priority        Amount             Paid To Date        Claim Balance        Proposed Pymt         Funds Remaining

               AMERICAN EXPRESS BANK             Unsecured             300              $44,831.25                 $0.00          $44,831.25            $7,690.24           $100,640.58
              FSB
               c/o Bccket and Lee LLP
              POB 3001
               Malvcm, PA 19355-0701

               AMERICAN EXPRESS BANK             Unsecured             300               $8,281.00                 $0.00              1,281.00           $1,420.50            $99,220.08
               FSB
               c/o Beeket and Lee LLP
               POB 3001
               Malvcm, PA 19355-0701

               Commonwealth Development          Unsecured             300             $526,879.38                 $0.00         $526,879.38           $90,379.60               $8,840.48
               Authority (Cda)
               CDA Building, Olcai
               PC Box 502149
               Saipan 96950-2149

11             SYNCHRONY BANK                     Unsecured             300                 $886.56                $0.00              $886.56              $152.08              $8,688.40
               c/o Recovery Management
               Systems Corp
               25 SE2nd Ave Suite 1120
               Miami, FL 33131-1605

                                                                                         $50,650.08                $0.00           $50,650.08            $8,688.40                   $0.00
13             Fraser Stryker Pc Llo              Unsecured             300
               500 Energy Plaza
               409 South 17Th St
               Omaha, Ne 68102

                                                                                       $862,645.97                  $0.00         $862,645.97                $0.00                    $0.00
               Independence Bank                  Unsecured             310
               Robert S. Catanzaro, CEO
               1370 South County Trail
               East Greenwich RI 02818

                                                                                      $1,106,813.57                 $0.00       $1,106,813.57                 $0.00                   $0.00
10             Independence Bank                  Unsecured             310
               Robert S. Catanzaro, CEO
               1370 South County Trail
               East Greenwich RI 02818

                                                                                      $2,753,223.19                 $0.00       $2,753,223.19          $134,444.90
Subtotals for Class Unsecured 4.88%

                                                                                         $54,983.24                 $0.00          $54,983.24                 $0.00                   $0.00
 1              Mutual Of Omaha Bank              Secured               400
                Law Operation, Bldg 1, 3Rd
                Floor
                Omaha, Ne 68175

                                                                                        $186,918.52                 $0.00         $186,918.52                 $0.00                   $0.00
2               Us Bank Na(Sec 410)               Secured               400
                C/O U.S. Bank Home Mortgage
                A Division Of Us Bank Na
                4801 Fredcrica St
                Owensboro, Ky 42301

                                                                        400             $129,053.46                 $0.00         $129,053.46                 $0.00                   $0.00
 12             U.S. Bank National Association Secured
                C/O U.S. Bank Home Mortgage
                A Division Of U.S. Bank Na
                4801 Frederiea Street
                Owensboro, Kentucky 42301

 Subtotals for Class Secured 0.00%                                                      $370,955.22                 $0.00         $370,955.22                 $0.00


                                                                                         ,174,821.39         $985,508.40         $3,189,312.99         $199,579.48                     $0.00
                Totals


 Proposed distribution is dependent on the Court's rulings on administrative expenses, contest of claims, and/or objections made to this proposed distribution.




                                                                                                                                                            Dale Printed 1/29/2018 12:01:17 PM
